Exhibit A
                                Declaration of Delmy Pineda Cruz

1.   My name is Delmy Pineda Cruz. I am detained at Karnes County Residential Center
     (“Karnes”) with my son, Alexis, who is eleven years old. My A number is 077-657-488.


2.   The ICE officials and GEO employees at Karnes punished me because I spoke out about
     the injustice of detaining women and children who are seeking asylum.


3.   My son and I fled Honduras, our native country, to escape gang violence. A gang beat
     my son for refusing to join the gang, and then threatened his life by killing another boy in
     front of him who had also refused to join the gang. We are seeking asylum in the United
     States.


4.   ICE has detained me and Alexis at Karnes since we entered the United States in early
     September. I have no criminal record in my home country, and ICE has never said that I
     pose any danger to anyone. If I were released, I would live with my other family and
     friends in Los Angeles, California, including my other son, Jackson, who was born in
     California in 2008 and is a citizen of the United States. I would attend all future
     immigration court hearings. There is no good reason for continuing to detain me and
     Alexis.


     Conditions at Karnes


5.   Alexis and I have been detained at Karnes for over seven months. The conditions at
     Karnes are inhumane, and I can’t take it here much longer. The ICE officials and GEO
     employees at Karnes do not treat the women and children with respect and dignity. They
     do not provide basic needs for mothers and children.


6.   For example, our children cannot eat properly. The food that ICE and GEO give us is
     disgusting. We have rice and beans nearly every day. The rice is either cooked too much
     or not enough, and the beans are hard and not cooked enough. The children eat so little.
     My roommate’s son is very thin. Over the nearly eight months I have been here, I have
     seen children lose weight. My son does not like to eat the food, and he complains about it
     all the time. The only thing I can do is buy him snacks from the commissary, and beg him
     to eat the cafeteria food. I get really worried for my son’s health because sometimes he
     refuses to eat because the food is so bad.


7.   The medical care at Karnes is terrible. The GEO medical staff do everything possible to
     cut costs, which means we don’t get proper treatment. When our children have severe
     pain, all they give us is Tylenol. My tonsils get infected occasionally, and they become
     inflamed and swollen. I used to have medication to help with it, but they took it and
     discarded it at the border when I entered the United States. My tonsils became inflamed
     again recently, and the medical staff would only give me something for the pain. They
     refused to give me anything to actually help treat and reduce the inflammation.


8.   The mental health care they offer here at Karnes is meaningless. They only offer a
     psychologist for show, and he does not actually provide care to any of the detainees. I
     hesitate to call it mental health care at all. The psychologist sits with his face in his hand
     looking bored while we talk about the trauma we have experienced in our home countries
     and the trauma of being locked in this detention center. He has never offered me any
     useful advice for coping with my experiences. At the end he just says, “I don’t have the
     power to release you.” We already know that—we just need mental health treatment,
     which we don’t get. In my eight months at Karnes, I have never gotten adequate
     counseling from a psychologist. My son, who had his life threatened in our home
     country, has not gotten any real counseling to help him cope with his past experiences, or
     with his current detention.


9.   Most importantly, I am very upset that there are children, like my son, detained at
     Karnes. Karnes feels very much like prison. They conduct head counts three times a
     day, just like they would do at a prison. They punish us for offenses as trivial as
     “disrespecting” a guard, which is also like a prison. Children should not be locked up
     here. I only came to the United States because I believed it was a safe place that would
     protect my son from violence, and because I was desperate and scared for our lives.
     Instead, we are treated like prisoners.




                                                   2
      Protest and Hunger Strike


10.   In March, along with some of the other women at Karnes, I decided to go on hunger
      strike because I am desperate. ICE will not let me go. I don’t know what else to do to
      protest the fact that ICE has detained me and my son in these conditions for so long.


11.   Only the mothers are participating in the hunger strike. Our children are not on hunger
      strike. We do not bring our children to breakfast or dinner, but we feed them with snacks
      from the commissary. The mothers eat something small from the commissary once a
      day. Our health is not in danger.


12.   The goal of our hunger strike was to draw attention to the terrible plight of the children
      here at Karnes and to persuade ICE to release the women and children at Karnes while a
      judge decides whether they should get asylum in the United States. There is no reason to
      keep us locked up here. People accused of crimes are released on their own promise to
      return to court. We haven’t even committed a crime. The same rule should apply to us.


13.   Our strike was also religious in nature. We prayed to ask God to help us endure detention
      and to give us strength to go through with our strike. We deliberately held the first hunger
      strike during Holy Week, which ends in Easter.


14.   The hunger strike began with a petition that was circulated before Holy Week (Exhibit
      A). We wrote the petition in order to explain why we were holding a hunger strike. The
      petition helped us express our feelings and our goals. We planned to begin refusing meals
      on the morning of Holy Tuesday.


15.   On Monday morning of Holy Week, we planned to deliver the petition to Johana De
      Leon from an advocacy organization called RAICES, which helps the women at Karnes
      with our asylum applications and to find attorneys for our asylum cases. Polyane Soares
      de Oliviera dos Santos was supposed to deliver the petition, but she had a court
      appearance that morning. I delivered the petition to Johana instead.




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      ICE Officials Threaten Hunger Strikers in Group Meeting


16.   The ICE officers called all of the hunger strikers to room 705. The room was packed,
      and there must have been close to eighty women there. There were ICE officials and
      GEO employees in the room, but only the ICE officials spoke. One of the ICE officials
      was named Pacheco. The other official was an African-American woman with long hair,
      and the third official was a thin, short man.


17.   The ICE officials asked why we were striking. We told them we were striking to gain
      our freedom and to protest the unjust conditions at Karnes. We told them we were
      striking because we should all be released from Karnes. There is no difference between
      us and other women who have been released—there is no reason to keep us locked up.


18.   Officer Pacheco, an ICE officer, said that if we continued with our strike, ICE would take
      away our children and we would be deported. He said striking would show that we were
      not competent mothers and we could not take care of our children. When I talked to
      Officer Pacheco personally, he said that if we go through with our “stupid idea,” ICE
      would take away our children and deport us.


19.   At this meeting, lots of women dropped out of the hunger strike because they were
      worried about losing their children. They believed that ICE would label them as crazy
      and send their children to another detention facility. Many women at Karnes made their
      way to the United States with no other family, no money, and no education. It would be
      completely devastating to have their children taken from them and put in another
      detention center, or, worse, sent back to the life-threatening violence they were trying to
      escape.


      GEO Guards Lock Me and My Son in Isolation


20.   After the meeting, a male GEO guard brought me down to the medical area. He put me
      into a small room, alone, without telling me what was going on. The door locked from
      the outside.



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21.   The room was dark. The only light came from a window on the door that was about three
      inches across. I could not turn the lights on or off, because the lightswitch was outside. I
      am not sure what the size of the room was. I was very scared to be in this room alone,
      and they had no good reason for putting me there.


22.   The room smelled bad from the toilet. The toilet was completely exposed, except for a
      small half wall between the toilet and the bed. There was a bed, like in a hospital room,
      with a thin mattress. The head of the bed was right next to the small wall and the toilet.
      There was a sink in the room, but no soap, and no cups. I had to drink water out of my
      dirty hands. A camera watched me from the corner. There was no cover on the window.


23.   I knocked on the door and yelled to try to get people’s attention. I also pushed a button
      on the wall to try to call for help. No one responded. I felt terrified. I was all alone. I
      had no idea why they had locked me in there or how long I would be here. Nobody
      would answer my cries for help. After a while, I just sat there in shock, feeling very
      scared and not knowing what to do.


24.   A while after I was locked in the room, a GEO guard opened the door and threw all of my
      possessions at me. Then I started worrying that I would have to stay in the room for a
      very long time.


25.   Around 4:00, when classes for the children ended, the GEO guard brought Alexis to the
      room with me. The guard locked us both inside. At this point, they turned the light on. I
      was so upset that Alexis was locked inside the room with me. He had no idea why we
      were locked up, and I didn’t, either. But Alexis is just an eleven-year-old boy.


26.   Around 4:30, a GEO guard came into the room and handed me a piece of paper that said I
      was under medical observation. She was a woman with short hair. Alexis and I did not
      have any infectious diseases. We were not losing weight and we did not have problems
      with out blood pressure, blood sugar, or our hearts. Neither of us takes medication on a
      daily basis. There was no medical reason for keeping us isolated.




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27.   I said to the GEO guard that I wanted to know why they were treating me like a criminal,
      and I told her my son doesn’t deserve what they were doing to us. I asked her to please
      explain what was happening. She did not answer me; instead, she left the room. I was
      angry, but even more than that, I was scared.


28.   Around 5:30, a GEO guard brought us food. We asked for soap to wash our hands, but
      we got only shampoo. Alexis told the guard how much he wanted to leave. The guard
      said she could not help us because she was “just following orders.” Alexis ate his meal
      sitting on the bed, which was the only place to eat. He got a stomachache after eating,
      probably because the food was so bad, but maybe also because he was so nervous or
      because the toilet was right there. Alexis was really upset.


29.   Alexis started crying. I couldn’t explain to him what was going on, because I didn’t
      know. Alexis said to me: “What will we do? We can’t go back to Honduras.” Alexis
      told me that Kenia and her son were next door—Alexis had seen their identification cards
      on the wall when the GEO guards brought him in. We could hear the cries of Kenia’s
      young son through the wall. He kept crying and crying.


30.   I tried to look out the window and knock on the door to ask someone to help us. One of
      the social workers employed by GEO said we couldn’t come out because we were under
      medical observation. I felt bullied. They were using Alexis to try to get me to stop
      speaking out.


31.   Alexis and I were forced to sleep in the room together.          Alexis was extremely
      uncomfortable changing his clothes and using the toilet in front of me. He is too old for
      that. He kept asking me to make sure I didn’t look. Because there was a camera and a
      window, we had no privacy.


32.   I could not sleep out of anxiety and discomfort. I had no idea how long I would be
      locked in the room with Alexis. Even if I had been able to sleep, there was not room on
      the bed for the both of us. I did not sleep that night.




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33.   In the morning, Alexis wanted to go to school. I pressed the buzzer on the wall, but no
      one would come to the door or listen. A GEO guard finally came later in the morning
      and let Alexis go to class around 10:00 in the morning. He left and told me that he hoped
      he did not get out of class and find me still in the room that afternoon. It was a harrowing
      experience for both of us. We did not know how long I would be forced to remain in
      isolation.


34.   At 11:00 Tuesday morning, I had an appointment with my lawyer. The GEO guards took
      my things back to my room before I met with my lawyer. After the meeting, I asked a
      GEO guard why I had been in medical observation. He said he didn’t know.


      Continued Intimidation by ICE Officials and GEO Employees


35.   Even after I was released from the room, ICE and GEO officials kept making my life
      very difficult.


36.   GEO guards, including a tall man with a beard, interrogated me and asked if I was the
      leader of the hunger strike. I told him I’m not the leader, which is true: we all decided to
      start the strike together. The GEO guards told me that I like to get involved in problems.
      I told them that I am only defending my rights.


37.   When I tried to sign in to work, the GEO guard who organizes everyone’s jobs told me
      that I did not have a job anymore. She told me that I couldn’t work because I was leading
      the hunger strike.


38.   Having a job is important to me. I was unhappy that the job paid me so little—only three
      dollars a day for three hours of work. Even though the job paid me so little, I kept
      working to make life a little easier on my son. Buying food from the commissary is
      important for the children. The food GEO gives us is cooked so poorly that our children
      refuse to eat it. Buying things from the commissary is the only way we can make sure
      they eat enough. Taking away a mother’s job is like forcing them to choose between
      speaking out and caring for their children. Eventually, the ICE officials and GEO guards
      took jobs away from all the mothers who were on hunger strike.

                                                   7
39.   The GEO guards also videotaped us and our children a few times using handheld
      cameras. It felt very invasive. The GEO guards stood just about six feet away from us
      and kept pointing the camera at us and our children. It made me feel humiliated and
      angry—the guards degrade us and disrespect us constantly. It made me worried about
      what I could say while they were filming me. There was no good reason for them to
      videotape us like that. There are already security cameras everywhere.


40.   The GEO guards called many strikers into an administrative office and told us to sign a
      paper. They repeatedly told us that if we did not sign the paper, we would “have
      problems with ICE.” The paper was written in English, which I cannot read. I suspect it
      said something about committing the error of participating in the hunger strike. I asked
      for a copy of the paper to give my lawyer, and the guards refused. I decided not to sign
      the paper. The GEO guards again warned me that I would “have problems with ICE.”
      Some other women signed the paper, and some did not.


41.   I tried to call my family, but the GEO guards said the phone wasn’t working. I went to
      Room 613, an administrative office, to ask for help. The GEO guards in that room told
      me the phone was broken. I think they were lying to keep me from speaking to my other
      son in Los Angeles. It felt like they were punishing me for participating in the hunger
      strike.


42.   The GEO guards would not give us shampoo or toilet paper. It seemed like a punishment
      to me. Right afterward, my roommate, Celia, asked for these things, and the guards gave
      them to her. I also tried to buy things at the commissary, but the GEO guard working
      there told me it was closing. I think the GEO guard lied about the commissary being
      closed because they thought that I was a leader of the hunger strike.


43.   On Good Friday, a nun named Sister Nancy came to visit me. The GEO guards turned
      her away and told her I didn’t want any visitors. That wasn’t true. This was also a
      punishment for participating in the hunger strike.




                                                   8
44.   A few days after I was locked up, I went to talk to my ICE officer, Officer Torres, but he
      wasn’t there. Instead, Officer Pacheco was there. I asked him: “why did you punish me
      in that room with my son?” He responded that GEO did so because I am the leader of the
      strikers. He said I handed Johana the petition, and my name was on the petition, so I am
      the leader. I asked how he knew that I handed Johana the petition, and he said he had
      watched me on camera.


45.   Alexis has not been well since we were locked in the room. He doesn’t want to get out of
      bed in the morning or go to school. He only wants to sleep. He is worried that we will
      never leave this place.


46.   A few days after we were released, one of the GEO teachers pulled me aside and asked
      what happened to Alexis. He was always good in classes, but lately, he always looked
      worried, and he cried often. I told the teacher how we had been locked up, and she said it
      was a real injustice. The teacher did not want me to reveal to GEO that she had spoken to
      me, but she said, as a mother, she was concerned about Alexis. I am concerned about
      him, too.


47.   Some things have changed since the strike began. GEO finally responded to a complaint
      I filed about one of the guards.


48.   This guard is a very tall white man who tells us his name is “Master.” He makes us clean
      the walls and make the facility look nice when important people come to visit. He also
      says we are forbidden from talking with these important visitors, or else we will have
      problems with ICE and GEO. He humiliated me and the other women repeatedly. He
      tells us that we have to follow his orders and treats us like people with no worth. He calls
      us “indigenous” to mock us. I didn’t complain about him for a long time because I
      worried about losing my job.       After I finally complained, GEO didn’t respond for
      months—until I started striking. Now, the Director answered my complaint, and she said
      what the guard did was wrong. She also said she had gotten other complaints about him.
      She didn’t fire him, though. He is only reassigned to the night shift for now.




                                                   9
49.   GEO has changed the kitchen and the food. They put curtains in the cafeteria. They used
      to give us one small plate of food. Now, for the people who are eating, they get larger
      plates, and they are allowed to take more food than before.


50.   I have also heard from women who have gone to get medical treatment that GEO also
      changed the room where Alexis and I were locked overnight. There is more light in the
      isolation room now. It’s like GEO is putting makeup on the facility.


      Continuing Intimidation from ICE Officials and GEO Employees


51.   The strike is still going on. We broke our strike on Holy Saturday to give ICE ten days to
      set a bond for us and our children. They did not respond to our demands, so we started
      striking again on Tuesday, April 14, 2015.


52.   The GEO nurses call us to the medical area to weigh us every day. They tell us that we
      have to start eating, or else we will not be able to take care of our children. They say our
      children will be taken away if we keep striking. They also say they don’t want to have to
      lock us up. I’m afraid that they will lock me up again if I keep up with the hunger strike.
      Yesterday, I said I didn’t need to be weighed, and ICE officials and GEO employees
      wouldn’t leave me alone in my room. They told me I had to go to the medical area ten
      times, but I’m afraid that they’ll make up some illness that I have. This morning, they
      claimed I have a fever, and they tried to make me sign a paper written in English that I
      didn’t understand. I know I don’t have a fever. I’m worried that they are trying to lock
      me away again.


53.   There are only about fifteen or twenty strikers left out of the nearly eighty who signed the
      petition before Holy Week. Many of women who stopped striking have told me they are
      scared about what ICE and GEO will do to them. They are especially scared of losing
      their children.


54.   Last Friday, the director of ICE, Sarah Saldaña, was visiting Karnes. We handed her a
      petition that about twenty of the hunger strikers had signed. The petition asked for our
      release from Karnes. I am worried that the petition made everything worse.

                                                   10
55.   This morning, a GEO guard ordered me and all the other women on hunger strike to go to
      Room 705. The GEO guard gave a paper and pen to each of us and ordered us to write a
      statement about why we were striking and for how long we would continue with our
      strike. We didn’t have a choice. We each wrote a statement to ICE with our names and
      the date explaining why we are on hunger strike.


56.   Half an hour or forty minutes later, two ICE supervisors, including the supervisor of all
      the other ICE officials, who is female, came into the room. There were more ICE
      officials there, including Torres, Pacheco, Fernandez, and others whose name I don’t
      know.     I started feeling really intimidated by all those officers.     The highest ICE
      supervisor asked Fernandez to translate what she said (she was speaking in English).


57.   Fernandez, one of the ICE officials, translated the female ICE supervisor as saying: you
      think that because you are participating in the hunger strike, we will let you go. We will
      not let you go. I know you handed a petition to Sarah Saldana, but that does not change
      the law. You have to finish your cases here, locked up. You are not responsible mothers.
      You need to start eating so that you can take care of your children. If you continue your
      hunger strike, they will take your children away. If you continue your hunger strike, they
      will deport you.


58.   At this meeting, the female supervisor pointed her finger at me and wagged it and said
      Delmy, you already know that you violated the law when you entered this country. I took
      it as a threat. I asked if this is a threat or a punishment, and she said no. I asked her how
      I should take it. She wouldn’t say anything more to me.


59.   I am scared of the further actions that ICE and GEO might take to prevent me from
      hunger striking. Nevertheless, I will keep striking because ICE could release me and my
      son and with the stroke of a pen.       We are only seeking asylum and we have not
      committed any crimes. Our children should not be in jail because they had to run for
      their lives.




                                                   11
Exhibit B
                     Declaration of Polyane Soares de Oliveira dos Santos

1.   My name is Polyane Soares de Oliveira dos Santos. I am detained at Karnes County
     Residential Center (“Karnes”) with my daughter, Rhynara, who is ten years old. My A
     number is 200-022-852.


2.   The ICE officials and GEO employees at Karnes punished me because I spoke out about
     the injustice of detaining women and children who are seeking asylum.


3.   My daughter and I fled Brazil, our native country, to escape life-threatening violence. My
     boss, a former police officer, threatened my life because I knew he was smuggling goods.
     I told him I was leaving, and he said I knew too much. He said he would cut out my tongue.
     We struggled over his knife and he stabbed me and then raped me. I ran after that. If I
     hadn’t happened to have seen a passing car, I’d be dead. I am scared for my life. The
     Brazilian government will not protect me.


4.   My daughter and I are seeking asylum in the United States. ICE has detained me at Karnes
     since I came to the United States last summer. I have no criminal record in my home
     country, and ICE has never said that I pose any danger to anyone. If I were released, I
     would live with my husband and two other children in Boston. I would attend all future
     immigration court hearings. There is no good reason for continuing to detain me and my
     daughter.


     Conditions of Detention at Karnes


5.   My daughter and I have been detained at Karnes for eight months. The conditions at
     Karnes are inhumane, and I can’t take it here much longer. The ICE officials and GEO
     employees at Karnes do not treat us women and children with respect and dignity. They do
     not provide basic needs for mothers and children.


6.   For example, our children cannot eat properly. The food that ICE and GEO give us is
     disgusting. We have rice and beans nearly every day. The rice is watery mush, and the
     beans are hard and not cooked enough. The food is also too spicy for children to eat. Over
     the eight months I have been here, I have seen children lose weight. My daughter does not
     like to eat the food, and she complains about it all the time. The only thing I can do is buy
     her snacks from the commissary, and beg her to eat the cafeteria food. I get really worried
     for my daughter’s health because sometimes she refuses to eat because the food is too spicy
     or tasteless.


7.   The medical care at Karnes is terrible. The GEO medical staff do everything possible to
     cut costs, which means we don’t get proper treatment. I have a strange lump in my throat
     that I asked the GEO doctor to examine for months. It feels like something is stuck inside.
     He kept telling me that I was fine, and he prescribed me acid reflux medication, which
     makes no sense and has nothing to do with the lump in my throat. He finally took an x-
     ray, but refused to see me after that. He would waive me away if he saw me though the
     window. I kept returning to his office because I wanted a blood test to check my thyroid,
     but the doctor refused. I am really worried about my health because I have lost twenty
     pounds since I have been detained at Karnes. I still do not know what the x-ray showed,
     and I do not know the reason for the lump in my throat. Not knowing why this lump is still
     there has caused me a lot of worry and anxiety.


8.   One of my roommates had a really bad toothache. They told her she needed a tooth pulled,
     but then, they pulled the wrong tooth. They pulled the correct tooth after that. She is still
     in so much pain.


9.   The mental health care they offer here at Karnes is meaningless. They only offer a
     psychologist for show, and he does not actually provide care to any of the detainees. I
     hesitate to call it mental health care at all. I open my heart to him to explain what my
     daughter and I went through. The psychologist sits with his face in his hand looking bored.
     He has never offered me any useful advice for coping with my experiences. At the end he
     just says, “I don’t have the power to release you.” We already know that—we just need
     mental health treatment, which we don’t get. In my eight months at Karnes, I have never
     gotten real counseling from a psychologist or a social worker. I am traumatized—I need
     counseling for my flashbacks and intense anxiety. My daughter, who has also suffered




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      trauma in our home country, has not gotten any real counseling to help her cope with her
      past experiences, or with her current detention.


10.   The GEO officials try to trick everyone on the outside into believing that things here are
      better than they really are. When people from the government come to visit, GEO tries to
      make everything look perfect. They put toys out in the day rooms for the children, and
      stock the fridges that are outside the dorms with snacks for the children, such as milk, juice
      and fruit. But when the government visitors leave, everything changes. The fridge is nearly
      empty all day. Our children don’t have the nutrition they need to be healthy and grow.


11.   Most importantly, I am very upset that there are children, like my daughter, detained at
      Karnes. Karnes feels very much like prison. They conduct head counts three times a day,
      just like they would do at a prison. They punish us for offenses as trivial as “disrespecting”
      a guard, which is also like a prison. Children should not be locked up here. I only came
      to the United States because I believed it was a safe place that would protect my daughter
      from violence, and because I was desperate and scared for our lives. Instead, we are treated
      like prisoners.


      Hunger Strike and Protest


12.   In March, along with some of the other women at Karnes, I decided to go on hunger strike
      because I am desperate. ICE will not let me go. When my daughter had her hearing before
      an immigration judge, the judge has said he would release my daughter if ICE released me
      on bond. After the judge said that, ICE told me that they would let my husband pay a bond
      to get me out. My husband and my other children live in Boston. They tried to pay to get
      me and my daughter out, but the ICE official in Boston said I wasn’t in the computer
      system. After that, an ICE official, Officer Fernandez, here told me not to try that again.
      He said that I won’t be released.


13.   Only the mothers are participating in the hunger strike. Our children are not on hunger
      strike. We do not bring our children to breakfast or dinner, but we feed them with food




                                                    3
      from the commissary. I eat one small thing from the commissary every day. I don’t feel
      like my health is in serious danger from the strike.


14.   The goal of our hunger strike was to shed light on our bad treatment and get ICE to release
      the women and children at Karnes while a judge decides whether they should get asylum
      in the United States. There is no reason to keep us locked up here. People accused of
      crimes are released on their own promise to return to court. We haven’t even committed a
      crime. The same rule should apply to us.


15.   Our hunger strike was also religious in nature. We prayed to ask God to help us endure
      detention and to give us strength to go through with our strike. We deliberately held the
      first hunger strike during Holy Week, which ends in Easter.


16.   The hunger strike began with a petition that was circulated before Holy Week. We wrote
      the petition in order to explain why we were holding a hunger strike. The petition helped
      us express our feelings and our goals. We planned to begin refusing meals on the morning
      of Holy Tuesday.


17.   On Monday morning, we planned to deliver the petition to Johana De Leon from an
      advocacy organization called RAICES, which helps the women at Karnes with our asylum
      applications and to find attorneys for our asylum cases. I was supposed to deliver the
      petition, but I had a court appearance that morning. Another detainee, Delmy Pineda Cruz,
      delivered the petition to Johana instead.


18.   I went to the videoconference room for my court appearance at 8:00 Monday morning.
      When I came back, I was crying really hard, because the judge had refused to set a bond
      for me so that my daughter and I could be released. I really thought I would be let go that
      day, and instead, I found myself back at Karnes, still waiting. My asylum case is not
      scheduled to be heard until May 1, which meant I had to spend another month in detention.
      As I was crying, a GEO guard called me to Room 613, which is an administrative office.




                                                   4
      Interrogation by GEO Employees


19.   In the room, there were two female GEO guards, one GEO supervisor, and one GEO
      employee in plain clothes. They accused me of leading the hunger strike. I felt intimidated
      by their questioning, but I told them that the strike was the equal responsibility of every
      mom here. They did not believe me. They persisted in questioning me, asking who put
      this idea into the mothers’ heads, how long the strike would go on for, and whether we
      understood that a hunger strike would harm our bodies. I eventually got up the courage to
      ask to leave. Between this questioning and my court appearance earlier that morning, I felt
      very overwhelmed.


20.   I am not sure how GEO learned about our strike. I think one of the moms may have told
      GEO everything on Monday morning.


21.   After I left Room 613, they let me stay in my dorm room for about twenty minutes. Then
      a GEO guard came and told me I had to go to the medical area. The guard told me I needed
      to stay in the medical area for an investigation and that I needed to be protected from the
      other mothers. This made no sense to me, because I had been at Karnes for eight months,
      and I had never had any problems with any other moms detained there.


22.   When I got to the medical area, they took away my ID. I was interrogated by GEO
      supervisors, including a tall, older African-American supervisor, and a social worker
      named Rebecca. They asked many questions about the hunger strike. Rebecca pushed me
      the hardest. She told me that I had to tell her who the leader of the strike was rather than
      take the blame for everyone. She repeatedly asked me: if I am not the leader of the strike,
      who is? She also told me I would be forced to stay in an isolation room until the end of
      the investigation. The GEO staff told me I would be locked up, I would talk about the
      strike, and I would be let go if I said who the leader was. They said if I told them who the
      leader was, I could get out. The questioning and threats went on for about twenty minutes.
      I felt incredibly scared. I was telling them the truth, but it wasn’t what they wanted to hear.
      I think they were looking for an easy way to get someone to call off the strike.




                                                    5
      Confinement to Isolation Room and Interrogation by ICE Officials


23.   After the questioning, the GEO staff then put me in an isolation room in the medical area.
      I had heard about these rooms, because they are used to punish women who break the rules.
      I had never been punished before, or had any disciplinary problems. There are at least
      three of these rooms in the medical area.


24.   I was very scared to be in this room alone, and they had no good reason for putting me
      there. The door locked from the outside. The room was a little bigger than ten feet by ten
      feet. The room had a bed, like in a hospital room, with a thin mattress. The toilet was
      completely exposed; there were no walls around it. If someone looked through the window
      while I was using the toilet, they could see me directly. There was a sink in the room, but
      no soap. There was no shower. There was no other furniture. There was no window, except
      for a big glass panel in the door.


25.   The room was very cold and quiet. Everything was cold to the touch. The door blocked
      noise completely, so I could not hear what was happening outside. A camera watched me
      from the corner.


26.   I felt terrified. It was extremely cold and I was all alone. I felt punished like a person who
      had committed a really bad crime. The GEO staff already have us locked up at Karnes—I
      wondered why they had locked me up inside this small room, and how long I would be
      here. They did not tell me how long I would be there, or why. I just sat there in shock,
      feeling very scared and not knowing what to do.


27.   I worried that my daughter would be brought here with me and that she would suffer more.
      She has already been suffering for so much time. She hates it at Karnes and it is hard for
      her to understand why we should be detained at all. How could a ten-year-old understand
      why she was forced to sit in isolation with her mother, if she hasn’t done anything wrong?
      My fear was more for my daughter than for me. It’s not her fault that I went on strike.


28.   I thought I would be in that room for three days because 72 hours in the isolation room is
      the usual punishment for someone who breaks the rules at Karnes. I know there was

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      another mom who got involved with one of the guards, and when the GEO supervisors
      found out, they put her in isolation for three days.


29.   After an hour, some ICE officers showed up, including Officer Pacheco. They asked me
      lots of questions, and they were extremely intimidating, disrespectful, and condescending
      to me. They treated me like I was stupid and tried to bully me into backing down. They
      asked if I understood the problems I was causing and they said that I was a bad influence
      on the other mothers. I told them that I am not the leader, and each mother can speak for
      herself.


30.   Officer Pacheco said to me, “you’re an adult woman,” and he told me it was irresponsible
      to go on hunger strike. He said that if I went on with the strike, ICE would take Rhynara
      away from me and put her in another detention center. After he said that, he leaned closer
      to me and tapped his index finger on his temple repeatedly, raising his voice and saying
      “do you know what I’m saying?” He said I would not be able to take care of my daughter
      if I went on hunger strike because I would lose my mind and my brain would shut down.
      The officers told me I needed to stop striking, to be a good influence, and tell the other
      moms to stop doing this. Officer Pacheco said to me that “a lot of things can happen,” and
      I needed to think about my daughter. A threat that vague made me feel really scared. The
      officers also asked if I thought Rhynara would be happy staying in this closed room with
      me, which scared me even more, because that was the main thing on my mind.


31.   The officers were trying to intimidate me out of striking. I felt bullied. They questioned
      whether I was competent to take care of myself and my daughter. And they were using the
      only thing I have left in here—my daughter—to try to get me to stop speaking out.


32.   The officers eventually left, and I was alone in the room again for a few minutes. Then
      Officer Torres, one of the ICE officers, came back and told me to come out because
      everyone was going to talk. I later learned that a group of strikers had come to the medical
      area and demanded that I be released. I also learned that some women had started their
      hunger strike early because I was locked up.




                                                     7
      Group Meeting and Threats by ICE Officials


33.   The ICE officers called all of the hunger strikers to room 705. The room was packed, and
      there were many hunger strikers there. There were ICE officials and GEO employees in
      the room, but only the ICE officials spoke.


34.   The ICE officers asked why we were striking. We told them we were striking because we
      should all be released from Karnes. There is no difference between us and other women
      who have been released—there is no reason to keep us locked up. The ICE officers said
      that mothers had to be in good health and mentally sharp to care for their children. If not,
      other people would have to care for the children. The ICE officers said that if we did not
      stop the hunger strike, they would take away our children.


35.   Lilian started to explain the purpose of the strike. She tried to describe a dream she had
      about God setting us all free from Karnes. She got very emotional speaking about the
      injustice of detaining mothers and children for no reason, and she started crying. The ICE
      officers tried to make her leave the meeting to go see the GEO psychologist. She refused.
      She told them that she knew what she was saying, and it’s not crazy.


36.   At this meeting, lots of women dropped out of the hunger strike because they were worried
      about losing their children. They believed that ICE would label them as crazy and send
      their children to another detention facility. Many women at Karnes made their way to the
      United States with no other family, no money, and no education. It would be completely
      devastating to have their children taken from them and put in another detention center, or,
      worse, sent back to the life-threatening violence they were trying to escape.


37.   After the meeting, Officer Pacheco gave me my ID back and said I was free to go back to
      my dorm room.


38.   Even after I was released from the isolation room, ICE officials and GEO employees kept
      trying to intimidate me and the other strikers into silence. They don’t want us to draw
      attention to the absurdity of keeping us mothers and children locked up at Karnes.



                                                    8
      Intimidation by ICE Officials and GEO Employees


39.   Kenia Yakeline Galeano and Delmy Pineda Cruz were forced to stay behind and go to the
      medical area after the meeting in Room 705. We knew ICE was taking them into the locked
      isolation rooms because GEO guards came to take all of their things out of their dorm
      rooms. When the other strikers saw that Kenia and Delmy were locked up, more than thirty
      of them dropped out of the strike. We were all terrified that this is what they would do to
      us, too. We were also very worried about Kenia and Delmy and their children. The
      isolation rooms are very harsh, and Kenia’s son is only two years old. Kenia and Delmy
      were locked away overnight. We didn’t see them until the next morning.


40.   I later spoke with Kenia and Delmy about how ICE and GEO officials had questioned us
      separately. They lied to all of us. For example, they told me that Kenia and Delmy had
      admitted to being leaders, but they had not. They questioned us like criminals. It makes
      me feel scared to be at the mercy of guards who tell lies and lock us away just to cover up
      a protest.


41.   The GEO guards told us that if we didn’t stop protesting, things would look bad for our
      immigration case. They said we would be deported. I believe them, because GEO and
      ICE work together so closely. Being deported is really scary to me, because it isn’t as
      simple as being sent home. Being deported means being sent back to life-threatening
      violence that I was trying to escape with my daughter. I don’t want my strike to put my
      daughter’s life at risk.


42.   The GEO supervisors didn’t want me to use the computers to send email messages during
      Holy Week. Ordinarily, GEO allows us to use the computers in the library to send emails
      to family members, attorneys, and others, if we have email accounts. After they released
      me from the isolation room, however, the guards would not let me use the computer for
      several days. They would always say “not today.” I couldn’t use a computer until after
      we broke the fast on Holy Saturday. They were trying to keep me from sending messages
      about the strike.




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43.   The GEO guards watch me closely now. If we get into a group of four or more people,
      they come over to see what we’re talking about. They try to eavesdrop. I feel like my
      privacy is constantly invaded here, just so ICE and GEO can make sure we don’t speak out
      about the injustice of family detention.


44.   Either ICE or GEO took my name off the “resident” count. We have counts every day at
      7:30 in the morning, 4:00 in the afternoon, and 8:00 at night. On Holy Thursday, my name
      disappeared from the list. This really scared me. When women are transferred to other
      detention centers or deported, it sometimes happens in the middle of the night, which is
      chilling. We wake up to find that one of the women is just gone. When a woman’s name
      comes off the list, it usually means that she is being deported or sent somewhere else. When
      my name came off the count list, I thought that would happen to me, too—I thought ICE
      would deport me or transfer me that night. I was very scared that night.


45.   I requested my medical records for my immigration case a while ago, and recently, I
      received the records. The GEO psychologist claimed in my counseling notes that I said I
      am a leader of the strike. He claims that I cried over the strike, too. Neither of these things
      are true. He is also lying about my daughter, saying she eats food from the cafeteria. I am
      worried that he will share these lies with ICE officers to try to get me deported.


46.   The GEO guards also videotaped us and our children a few times using handheld cameras.
      It felt very invasive. The guards stood just about six feet away from us and kept pointing
      the camera at us and our children. It made me feel humiliated and angry—the guards
      degrade us and disrespect us constantly. It made me worried about what I could say to my
      daughter and others while they were filming me. There was no good reason for them to
      videotape us like that. There are already security cameras everywhere.


47.   The GEO guards said they were trying to film us to prove that there was no hunger strike.
      We tried to reason with the guards—we asked them why they were filming us and asked
      them to turn their cameras off. They would only say that filming us was “part of their job”
      and refuse to put the camera down. We asked if we could talk with their supervisors about
      it, and they said no.


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48.   We decided, if GEO was going to make us feel like prisoners and watch our every move,
      we would protest. We took sheets of printer paper and wrote “L-I-B-E-R-T-A-D” (to spell
      freedom in Spanish) and put one letter on each piece of paper. Then we held the papers up
      in order and chanted “libertad!” A helicopter passed overhead while we were doing this.
      The GEO guards then ordered us to go to our rooms. I think they were angry that we ruined
      their video that was supposed to show that there was no protest going on.


49.   It was about 6:45 on the same evening when the guards ordered us to our rooms, but we
      are supposed to be allowed outside until 7:00. The sick children are allowed to come
      outside and play from 7:00–8:00, and then we are allowed back outside from 8:00–10:00.
      Another mom argued that it was not 7:00 yet. We didn’t want the GEO guards to be able
      to send us inside just for protesting. After about five minutes, Kenia said that we should
      go inside to allow the sick children to play. We went inside after five minutes.


50.   When the time came for everyone to come back outside for recreation at 8:00, the GEO
      guards wouldn’t let anyone out of their rooms. Some other moms told me there were ICE
      officers outside. The GEO guards said they were keeping us inside for our security, but I
      don’t believe that. Everyone at Karnes was on lockdown because we had protested. I think
      they were trying to send a message that we should be compliant and stop standing up for
      ourselves.


51.   The next day, a GEO employee who works in Room 613 tried to get me and other mothers
      to sign a document. The document said we had committed “insurrection” because we were
      waving the “L-I-B-E-R-T-A-D” papers waiting for a helicopter rescue. The claim that we
      were trying to escape is ridiculous. We were not chanting to that helicopter and did not
      even know that it would fly overhead at that time. We certainly were not looking for a
      helicopter to rescue us. This was a crazy story that GEO invented. We had eight sheets of
      printer paper—nothing visible from a helicopter—and we knew that we were on camera.
      Helicopters fly by Karnes all the time. It was obviously a coincidence.


52.   The piece of paper that the GEO guard gave us also said that we had committed the offense
      of “insurrection.” This, too, is ridiculous. We were not trying to overthrow the authorities


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      at Karnes or threaten anybody. We only held up pieces of paper and chanted while we
      were being filmed against our will.


53.   The female GEO employee who wanted us to sign the insurrection charge said we did
      something very dangerous. She said the helicopter might have shot at us because people
      in the United States don’t like us. It doesn’t make any sense that GEO or ICE would punish
      us if all they wanted was to keep us safe.


54.   This helicopter incident seems like a joke to me, except that I’m going to get punished for
      it. The ICE officials or GEO employees who decided to charge us with insurrection are
      trying to send a message that we should not protest. They don’t even care if the charges
      sound plausible. They only want an excuse to punish us for protesting. The woman said
      that my commissary privileges would be taken away, and something else would happen to
      me after the director decided.


55.   More than a week later, a GEO supervisor called me into a meeting in which he told me
      that I was being punished because I refused to go to my dorm room immediately after the
      helicopter incident. He said that, the next day, I would attend a meeting to determine
      whether I was guilty or not guilty. He called other moms who held the “L-I-B-E-R-T-A-
      D” sign to his office and said the same thing. We haven’t heard anything else about this,
      but we’re all worried that we will be punished for protesting. It’s really unfair to label our
      actions as “insurrection.”


56.   Some things have changed since the strike began. GEO has changed the kitchen and the
      food. They put curtains in the area where we eat. They used to give us one small plate of
      food. Now, for the people who are eating, they get larger plates, and they are allowed to
      take more food than before.


57.   The doctors also finally did a blood test to see whether something is wrong with my thyroid.
      I have heard in the past that it is hard to get an appointment to see the results of medical
      testing. I hope I don’t have trouble seeing my results when they come back.




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58.   The strike is still going on. We broke our strike on Holy Saturday to give ICE ten days to
      respond to our demands. They did not respond to our demands, so we started striking again
      on Tuesday, April 14, 2015. I am continuing the hunger strike to protest our continuing
      detention for no reason whatsoever.


59.   Before we resumed our strike, GEO guards took jobs away from all the mothers who are
      on strike. I don’t know whether ICE had anything to do with this, but GEO usually asks
      ICE for permission before they do anything. Women at Karnes have job assignments such
      as cleaning dishes. For these jobs, we earn three dollars per day. Even though it is very
      little money, we take the jobs because we need the money to buy food for our children.


60.   The strikers were asked to go to room 613, where they asked why the strikers won’t eat
      and warned that if they didn’t eat that day, they’d never work again. The GEO guards
      reminded the strikers how much they need their jobs. The guards are right: there are
      women here whose families cannot send them money, and the little money they earn
      doesn’t go far because items in the commissary are really expensive. Buying food from
      the commissary is important for the children. The food GEO gives us is cooked so poorly
      that our children refuse to eat it. Buying things from the commissary is the only way we
      can make sure they eat enough. Taking away the mothers’ jobs is like forcing them to
      choose between speaking out and caring for their children.


61.   GEO has made the food at the commissary more expensive. I think this is to make it harder
      on moms without jobs who are on hunger strike.


62.   The GEO nurses call us to the medical area to weigh us every day. They tell us that we
      have to start eating, or else we will not be able to take care of our children. They say our
      children will be taken away if we keep striking. They also say they don’t want to have to
      lock us up. I’m afraid that they will lock me up again if I keep up with the hunger strike.


63.   There are only about fifteen or twenty strikers left out of the nearly eighty who signed the
      petition before Holy Week. The women who stopped striking have told me they are scared




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      about what ICE and GEO will do to them. They are especially scared of losing their
      children.


64.   Last Friday, the director of ICE, Sarah Saldaña, was visiting Karnes. We handed her a
      petition that about twenty of the hunger strikers had signed. The petition asked for our
      release from Karnes. I am worried that the petition made everything worse.


65.   This morning, a GEO guard ordered me and all the other women on hunger strike to go to
      Room 705. The GEO guard gave a paper and pen to each of us and ordered us to write a
      statement about why we were striking and for how long we would continue with our strike.
      We didn’t have a choice. We each wrote a statement to ICE with our names and the date
      explaining why we are on hunger strike.


66.   Half an hour or forty minutes later, two ICE supervisors, including the supervisor of all the
      other ICE officials, who is female, came into the room. There were more ICE officials
      there, including Torres, Pacheco, Fernandez, and others whose name I don’t know. I
      started feeling really intimidated by all those officers. The highest ICE supervisor asked
      Fernandez to translate what she said (she was speaking in English).


67.   Fernandez, one of the ICE officials, translated the female ICE supervisor as saying: you
      think that because you are participating in the hunger strike, we will let you go. We will
      not let you go. I know you handed a petition to Sarah Saldana, but that does not change
      the law. You have to finish your cases here, locked up. You are not responsible mothers.
      You need to start eating so that you can take care of your children. If you continue your
      hunger strike, they will take your children away. If you continue your hunger strike, they
      will deport you.


68.   I am scared of the further actions that ICE and GEO might take to prevent me from hunger
      striking. Nevertheless, I will keep striking because ICE could release me and my son and
      with the stroke of a pen. We are only seeking asylum and we have not committed any
      crimes. Our children should not be in jail because they had to run for their lives.




                                                   14
Exhibit C
                              Declaration of Kenia Yakeline Galeano


1.   My name is Kenia Yakeline Galeano. I am 26 years old and was born in Honduras. I was detained
     at the Karnes County Residential Center (“Karnes”) with my two-year-old son, Alejandro, from
     early November 2014 until Thursday, April 9, 2015, when we were released from detention.


2.   The ICE officials and GEO employees at Karnes punished me because I spoke out about the
     injustice of detaining women and children who are seeking asylum.


     Other Mothers and I Plan a Hunger Strike for Release from Detention


3.   I decided, along with many of the other mothers detained at Karnes, to participate in a hunger
     strike. The hunger strike took place during Holy Week, the week leading up to Easter. We began
     refusing meals on Monday, March 30, and continued to refuse meals through Friday, April 4. My
     participation in the strike was primarily for two purposes.


4.   First, I went on hunger strike to get myself and my son released from Karnes. My son had his
     second birthday while at Karnes, and the conditions at Karnes are bad, and we had already spent
     too much time there. Although I had a lawyer who was representing me in my asylum case, I
     hadn’t been released, and was trying to advocate for myself. There was no reason to keep us
     locked up at Karnes.


5.   Second, I also wanted to raise awareness of the problems at Karnes, and make other people know
     how truly bad it is there. So I decided to participate in the hunger strike for two reasons: as a way
     of fighting for our release, and also a way to shed light on all of the incredibly harsh conditions
     faced by women and children at Karnes.


6.   At no time did we have plans of incorporating violence into our strike. Violence was never our
     goal and never something we considered because we wanted to get our points across through
     peaceful means. At no point did the strike ever turn violent. To my knowledge, none of the
     mothers ever made threats to ICE or GEO employees during the strike.
7.    Only the mothers participated in the hunger strike. Our children were not on hunger strike. We
      did not bring our children to breakfast or dinner in the dining hall, but we did feed them with
      snacks from the commissary.


      ICE Officials Threaten to Separate Hunger Strikers From Their Children


8.    On Monday morning at 9:00, other mothers and I began our hunger strike. That afternoon, ICE
      ordered all the hunger strikers and our children to the meeting.


9.    The room was packed. There must have been close to eighty women there. There were many ICE
      officials and GEO guards and supervisors at the meeting. I don’t remember exactly who the ICE
      officers were, but I know that Officer Pacheco was there, as well as one female officer.


10.   The ICE officers explained to us that if we refused to eat, we would not be fit to continue taking
      care of our children, and they would take our children from us. I explained to the ICE officials that
      I was striking because I wanted ICE to issue a bond to me and my son so that we had a possibility
      of being released from Karnes. The officials told me that my lawyer needed to call them and
      request the bond, and I responded that my lawyer has called many times and has never been able to
      speak with an ICE officer. Many of the other mothers also spoke. The meeting lasted about one-
      and-a-half hours.


11.   At this meeting, lots of women dropped out of the hunger strike because they were worried about
      losing their children. I was scared by their threats to take my son. Even if it was against the rules
      for ICE to take my son from me, here are many things that happen at Karnes that no one else
      knows about, so I knew their threat was real. Even though I was afraid, I decided that I needed to
      take some action to protect my son and get us released from Karnes, and the strike was my way of
      doing that. So I continued with the strike, despite ICE’s threat.




                                                        2
      ICE Officials Lock Me and My Son in Isolation


12.   When the meeting ended, an ICE official forced me to stay behind. I don’t remember his name, but
      he was a tall, white male who spoke Spanish. He said they needed to investigate because they
      believed the three of us were victims of RAICES, and that Johana from RAICES was using us and
      manipulating us to participate in the strike. That statement really worried me because RAICES
      helps many of the mothers at Karnes with their asylum cases. I thought ICE was trying to use
      something we said to interfere with RAICES’s help.


13.   Then a female guard from GEO, who I think was a supervisor because she was wearing a red shirt,
      came and took me and my son out of the meeting room. The ICE officials remained with the other
      two mothers. The guard took me to the medical area with my son and put me in an isolation room.
      She said we needed to wait there and ICE would come and talk to me. She then closed the door.


14.   About 15 minutes later, the same GEO guard came back into the isolation room and ordered me to
      write a letter. She wanted to me explain what I wanted, and why I was participating in the strike.
      She also said they knew that the mothers had written a petition earlier and had gave it to RAICES,
      and she wanted me to put in my letter what my involvement was with that earlier petition. She also
      wanted to me to explain whether someone had influenced us in participating in the strike. I asked
      her why I was in isolation, and the GEO guard told me that they needed to investigate whether I
      was the leader of the strike. She then left.


15.   At first I thought she wanted to compare my handwriting with the handwriting on the petition and
      if they thought I had written the petition, that they would try to deport me faster. I also thought that
      they would keep me in isolation if they thought I was one of the leaders of the strike. I was so
      scared that I wrote the letter for GEO in handwriting different than my normal handwriting, so they
      could not compare it to the petition.


16.   My letter explained that I was participating in the strike because I wanted ICE to release me and
      my son. I also said that I had seen a petition and had signed it, and that I knew it was given to




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      RAICES but I had not done that. I also wrote that I wanted to talk to someone from ICE about why
      I was in an isolation room and how long my son and I would be in there. I then signed the letter.


17.   A few minutes later, the GEO guard returned and told me that she would go to my dorm room and
      collect my belongings because my son and I would be spending the night in the isolation room. I
      responded that I didn’t understand why I needed to spend the night in the isolation room because I
      had reviewed the rules of the facility and had not broken any of the rules that would result in my
      isolation. The officer told me she was just following ICE’s orders, and ICE’s orders were that I
      could not leave the isolation room.


18.   I was really scared because they never told me how long I would be in the isolation room, and I
      was most afraid about my son. He is only two years old. I didn’t want him in that room at all and
      didn’t know what to tell him about why we were locked inside. To my knowledge, the isolation
      rooms were only used when someone was sick, when someone broke one of the rules, or when
      someone was disrespectful to an ICE officer or GEO employee. I wasn’t in any of those situations,
      but I was placed in isolation with my son. It was scary.


19.   During my detention at Karnes, lots of people were locked in isolation rooms for disrespecting ICE
      officials or GEO employees.


20.   I know of one mother who had been placed in isolation for three days because she was accused of
      disrespecting an officer. She was locked inside with her son, who was only eighteen months old.
      To protest her harsh punishment, she refused to eat during the time she was in isolation. Her son
      didn’t like the food in the cafeteria, so he normally ate food from the store. But because the mother
      was in isolation for a disciplinary reason, she couldn’t use the microwave to prepare food for him,
      so her son drank only milk for those three days. At some point during those three days, an ICE
      officer threatened the mother with worse punishment. He said that if she didn’t eat, ICE could
      declare her unfit and take her child away from her. He said they could put her in a room by herself
      and she would have to be nude. I had heard about this threat, and when they locked me in the
      isolation room, I worried that something like that could happen to me.




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21.   About a half hour after I was first told that I would spend the night in isolation, a different female
      GEO guard in a white shirt brought my belongings to the room. I didn’t ask her anything because I
      knew, based on the color of her uniform, that she would only follow orders and wouldn’t answer
      any questions. But I did ask her if I could make a phone call—I wanted to call my lawyer to
      explain what was happening, and tell her that I was in isolation with my son and I didn’t know
      why. The GEO guard said I couldn’t make any calls because I was being punished. I knew that
      when people are placed in isolation for punishment, they are not allowed to make phone calls. I
      was surprised to hear that I was being punished, and I had no idea what for.


22.   The guard then left and almost immediately a nurse came in. She told me that if I needed anything
      I should press a button and a guard would contact the nurse to visit me. She gave me some wipes,
      two apple juices, and a bottle of water. She then left. I only pressed the button one time while I was
      there to get diapers, and the nurse brought them.


23.   The isolation rooms are very small. There is only one bed, and the side where you are supposed to
      lay down your head is right next to the toilet.


24.   The isolation rooms are extremely bad compared to the regular dorms. In the regular dorm, the
      bathroom is separated so there is privacy, but in the isolation rooms, there is no separation. There
      is a shower, but it has freezing cold water, and there is no curtain or door. There are also cameras
      in each isolation room. In the regular dorm there is also a phone that we all have regular access to,
      but in isolation there are no phones and you have to ask for permission to use a phone. There is
      nowhere to put food if one wants to eat, because there is no table or anything. The bedsheets are
      thinner and rougher than normal, and the mattress that we sleep on is thinner and not as good.
      When the door is closed, you can’t hear anything. I couldn’t hear anything outside in the hallway
      or in any other room.


25.   It was very scary to be in that room, especially because I had no idea how long ICE would keep us
      there.




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26.   Around 6 p.m., the GEO guard in the white shirt brought food for me and my son, but neither of us
      ate. My son was asking to leave the room and play with his friends, and when I told him he
      couldn’t leave, he started crying. He kept crying until he finally fell asleep around 9:00 at night. I
      could barely sleep at all. I didn’t drink anything because I was on a hunger strike, and I didn’t want
      to have to use the bathroom, especially when my son’s head was right next to the toilet.


27.   No one from the outside returned to my isolation room until 5:30 the next morning (Tuesday). At
      that time, a male GEO employee in a red shirt told me to wake up because my son and I were
      being released. About one hour later, a GEO guard in a white shirt took me and my son back to our
      regular room in the dormitory area.


28.   At no point did anyone tell me how long I was going to be in isolation, and at no point did any ICE
      officer talk to me while in detention.


29.   I learned at that time that the other two mothers had also been locked in isolation. One was in
      locked in isolation for a few hours on Monday, and the other, Delmy, was still locked up. She was
      not released until about 11:30 Tuesday morning.


30.   I think GEO and ICE thought that their actions would convince us to stop our strike. Initially,
      about 80 of us started the strike, but by the time I was released, about 40 of us were continuing.
      Those 40 of us were united and continued the strike.


      ICE and GEO Continue Retaliating Against Remaining Hunger Strikers


31.   Delmy, who was released at 11:30 Tuesday morning, had previously been working at the detention
      center in cleaning. Once she was released from isolation, she was told she could no longer work
      because of what she had done. They told her she could not use any service at the detention center.


32.   Later that afternoon, Delmy and I went to the library to use the computers for email. There were
      other mothers in the library, but the GEO guards told us that the two of us could not enter the
      library. I asked why, and they did not respond. To me, it felt like they were punishing us because I



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      could see other people inside, and they couldn’t give me a reason. All they said was that we could
      not enter the library at all.


33.   After about 10 minutes of persistence, I finally told the GEO guard that I would look for an ICE
      officer to explain why I couldn’t enter the library. Once I said that, the GEO guards allowed me
      and Delmy into the library. I think the GEO officers were trying to protect the ICE officers from
      getting directly involved in the retaliation, to preserve the appearance that GEO was deciding to
      treat us badly on its own.


34.   On Tuesday evening, they started calling the striking mothers and their children to medical and
      they began measuring our weight. They did not call any other mothers or children to measure
      weight; only those that were on the strike. They also called me but I refused to go, because the last
      time I went to medical they put me in an isolation room without telling me.


35.   The food service at the detention center continued normally. They were serving food in the
      cafeteria and many mothers and their children were eating normally. But the forty or so hunger
      strikers and our children were not eating in the cafeteria. For the children under age four, we were
      buying food from the store and they were eating that. Children older than four were going to
      school and they would eat there. But for the mothers, we were not eating anything.


36.   One day during that week, I don’t remember which day exactly, the commissary was closed. The
      store normally opens at 9:00 in the morning, but it wasn’t open. I called RAICES and explained
      that the store was closed. The store eventually opened around 11:30 in the morning, and they
      explained that it was closed earlier because the lady who worked there had a sick family member.
      That was the only time it was closed that I can recall. I’m not sure whether this was to punish us
      for the strike.


37.   Usually for meals, when we enter the cafeteria we need to scan the barcode on our IDs before we
      eat. But during the days of the strike, the GEO guards had a printed list of all of us at the detention
      center. People who were eating were still scanning their IDs, but I saw the GEO guards also taking




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      a pen and marking the names of all of us that were striking on the list, implying that we had eaten
      at the cafeteria even when we hadn’t.


      ICE Instructs GEO to File Disciplinary Charges Against Striking Mothers


38.   During the hunger strike, all of the striking mothers were sticking together. On Wednesday, GEO
      officials were walking around with handheld cameras and were recording the hunger strikers and
      our children. This was the first time I had ever seen the officers doing this. We didn’t understand
      why this was happening as the detention center is full of surveillance cameras. It was scary
      because I didn’t know why they were doing it, and I thought they were trying to record those of us
      that were striking as a way of using it against us, or taking away our children. At one point, our
      children started screaming and playing, and GEO employees began focusing their recordings on
      the children. I was in my room when this was happening.


39.   Usually, each night at 7:00, we are supposed to return to our rooms until 8:00. The reason is that
      some families are in medical isolation because they are sick, and they are allowed out into the
      common areas from 7:00–8:00. I think during the strike there were two families in medical
      isolation because they had chicken pox.


40.   On this particular day, when GEO guards were filming the hunger strikers and their children, GEO
      guards ordered everyone back to their rooms early. I heard what was happening and I walked out
      of my room and saw the hunger strikers upset and saw the video cameras. I told the strikers we
      should go into our rooms because if I were in isolation again, I would want to be able to come out.
      Eventually, we went back to our rooms.


41.   Once we returned to our rooms, the GEO guards would no longer let us leave, even though
      normally we can leave around 8:00, after the families in isolation return to their isolation rooms.
      They didn’t tell us why we couldn’t leave. Some mothers then said that they needed milk because
      their children were hungry. GEO still wouldn’t let us leave; instead some nurses heated up milk
      and brought it to the mothers. Around 10:30 at night, some mothers again asked to leave because




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      their children were hungry. GEO then allowed a small group of mothers to leave, get food, and
      then return right away.


42.   I think the following day, Thursday, Delmy went to talk to an ICE officer, Officer Fernandez, and
      asked why GEO was recording us with handheld cameras. Officer Fernandez said GEO shouldn’t
      be doing that because ICE did not give any orders for GEO to do that. I don’t believe him—I think
      ICE was involved. This one example explains so much about the issues at Karnes. Anytime we
      question a GEO decision, they say they are just following ICE’s orders, but ICE denies it. No one
      takes any responsibility, and we can almost never get straight answers for anything.


43.   The same day Delmy talked to Officer Fernandez, a GEO employee named Inocencia Figueroa
      said that ICE ordered her to discipline the hunger strikers for inappropriate conduct. Inocencia
      knows many of the moms detained at Karnes. She told us that she was at home asleep when she
      was told she needed to come in and identify moms from GEO’s video. She identified many of the
      moms, but not all.


44.   GEO guards told each of us one-by-one that we had to go to Inocencia’s office. I was one of the
      people identified, and I went to her office. No one explained why we needed to go.


45.   When I went to her office, Inocencia explained that I was there to sign a disciplinary order for
      inappropriate conduct. She said she identified me from the video and she showed me the handbook
      and said that our conduct was against the rules. I told her I was not going to sign because I had not
      broken the rules she said I did. I said that I only left my room to encourage the other mothers to
      return to their room, so I was not going to sign.


46.   Inocencia also claimed that many of the mothers told her that I was the leader of the strike, but I
      later learned that no one had said I was the leader. She also said that I was the “madrepollito,”
      meaning that I had influence over the other women, because she saw on the video that after I
      talked to the mothers, they listened to me and went back into their rooms. To my knowledge, one
      or two of the moms signed the disciplinary report, but no one else signed. Inocencia said that if I
      didn’t sign, I would need to meet with ICE to address the video. I told her the only thing I’ve



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      wanted this whole time was to talk to ICE, and since the strike started I have not spoken with ICE,
      so that’s exactly what I want.


      Retaliation Continues After the Hunger Strike is Suspended


47.   On Friday, we decided to suspend the strike. We decided to give ICE ten days to review our cases,
      but we didn’t actually start eating again until Saturday morning.


48.   On Friday night, GEO employees in red shirts called all of us that were on the video for a meeting.
      We were in a large room but they spoke with each of us individually. One of the GEO employees
      was Officer Scott. When they talked to me, they said they knew I was there because they saw me
      on the video. They also told me that I was going to meet with ICE the following day, but that never
      happened. As far as I know, none of the striking mothers ever spoke with ICE the following day.


49.   After the strike ended, GEO was monitoring me, Delmy, and Polyane carefully. For example,
      anywhere I went, I noticed a GEO guard nearby who seemed to be listening to my conversations
      with anyone. Also, when I was at the store to buy something, a GEO guard was there watching
      what I bought and then following me back to my room. Many GEO guards who never previously
      knew my name suddenly learned it. Some GEO guards also told me that they were instructed to
      watch me and pay attention to me, Delmy, and Polyane.


50.   I talked to my ICE officer regarding my case, and specifically my bond. I also explained that I was
      in isolation for some time, and he told me that happened because they were investigating who was
      releasing confidential information out of Karnes.


51.   GEO continued to weigh those of us who participated in the strike until I was released from Karnes
      on April 9. When we were weighed, the GEO employees warned us that we needed to start eating,
      or they would take away our kids.




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Exhibit D
                                 Declaration of Lilian Castillo Rosado

     I, Lilian Oneida Castillo Rosado, hereby declare and say as follows:

1.   My name is Lilian Oneida Castillo Rosado. I am detained at Karnes County Residential
     Center (“Karnes”) with my son, Josel, who is eight years old. My A number is 206-187-
     527.


2.   I am applying for withholding of removal to stay in the United States. I am represented pro
     bono by Michael Cooley of the law firm of Akin Gump Strauss Hauer & Feld LLP, which
     has offices in both Texas and New York and is willing to continue to represent me whether
     my case proceeds in Texas or in New York.


3.   My son Josel and I fled Honduras, our home country, because we were subjected to years
     of domestic violence there. Josel’s father repeatedly beat me and sexually abused me over
     a period of approximately five or six years. He also threatened my life and confined me
     and Josel to the house for extended periods of time. Josel’s father beat Josel, too, when
     Josel tried to defend me.


4.   The Honduran government will not protect us from Josel’s father. We are seeking asylum
     in the United States. ICE has detained me and my son at Karnes since we entered the
     United States in early August.


5.   There is no good reason for detaining me and my son. I have no criminal record in my
     home country, and ICE has never said that I pose any danger to anyone. If I were released,
     I would live in New York with my sister-in-law, who has lawful status, and I would attend
     all future immigration court hearings. ICE refuses to release me just because I have a prior
     deportation order, and that is not fair or just.


6.   Along with other women, I am participating in a hunger strike at Karnes because we are
     protesting the fact of our continued detention. I am especially frustrated and sad that the
     children are suffering in detention. We did not do anything wrong. We just came as
     refugees to seek safety, and our children should not be locked up for that. That is why I am
     protesting.


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      Conditions of Detention at Karnes


7.    Josel and I have been detained at Karnes for nine months. The conditions at Karnes are
      inhumane, and it is especially bad to lock up children in this place. I feel that the ICE
      officials and GEO staff at Karnes do not treat the women and children with respect and
      dignity. They provide very bad quality food and medical care, which are basic needs for
      mothers and children.


8.    For example, the food in the cafeteria is so bad that my son and many other children do not
      want to eat it. The meat is not good. Even the rice is bad. The food is not cooked properly.
      My son refuses to eat the food, and that worries me as his mother.


9.    There has been sexual abuse among the children. The GEO staff separated older children
      from their parents and put them all in the same living area together. They weren’t properly
      supervised, and some of the children forced one boy to perform sexual acts. ICE set a bond
      for some of these families to get them out of Karnes and cover up what really happened.


10.   The medical care at Karnes is terrible. The GEO medical staff do everything possible to
      avoid giving treatment. Many times I went to medical complaining of severe pain but they
      acted like it was not serious.


11.   I know a woman whose daughter is very sick with stomach inflammation. The medical
      staff haven’t treated her properly and she isn’t getting better. The judge recently denied
      the mother asylum. The mother wants to appeal, but she is worried that an appeal will
      force her daughter to stay longer at Karnes with inadequate medical care.


12.   Another woman has a daughter whose hair is falling out. The medical staff said her hair
      was falling out because of stress, but the mother was worried that it is a serious sickness,
      and it took a very long time to get tests done.


13.   The mental health care they offer here is meaningless. There are children detained at
      Karnes who say they want to kill themselves, and they are not getting the counseling they
      need. One child was telling me he wants to climb to the roof and jump if he doesn’t get


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      out of here. My own son doesn’t want to get out of bed. He is too depressed to eat or go
      to classes. He cries all the time because he has been here so long. When I put my son to
      bed, I tell him how we will get out of Karnes someday. He asks me, “When, Mami, when?”
      I tell him that God is with him, which is the only thing that makes him smile. Young
      children should not have this type of depression. It bothers me that the consciences of the
      ICE and GEO officials seem totally unaffected by the children’s suffering.


14.   The ICE officers mock us and tell us we should just ask to be deported, since we’ve been
      at Karnes for so long, waiting to get asylum. Officer Pacheco, an ICE officer, has pressured
      me to do things like sign papers that I don’t understand by saying “do you want to go back
      to your country?”


15.   Most importantly, I am very upset that there are children, like my son, detained at Karnes.
      Karnes feels very much like prison. They conduct head counts three times a day, just like
      they would do at a jail. They write us up if you talk back to them after they are talking
      badly to you or insulting you, which is also like a jail. Children should not be locked up
      here. I only came to the United States to protect my son from violence, and because I was
      desperate and scared for our lives. But we are treated like prisoners because we came to
      seek asylum.


      Hunger Strike and Protest
16.   In March, along with some of the other women at Karnes, I decided to go on hunger strike
      because I am desperate. When I first arrived here, ICE said we would only be detained for
      ninety days. After ninety days, they said six months. I have now been here nine months.
      The only thing I want—and the other women want—is to find refuge here in the United
      States.


17.   The goal of our hunger strike was to draw attention to the terrible plight of the children
      here at Karnes and to persuade ICE to release the women and children at Karnes while a
      judge decides whether they should get asylum in the United States. There is no reason to
      keep us locked up here. People accused of crimes are released on their own promise to
      return to court. We haven’t even committed a crime. The same rule should apply to us.


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18.   Only the mothers are participating in the hunger strike. Our children are not on hunger
      strike. We do not bring our children to the cafeteria for breakfast or dinner, but we feed
      them with food from the commissary.


19.   When we began the hunger strike during the Holy Week before Easter, we circulated a
      petition. In that petition, we asked for release from detention. We wrote the petition in
      order to explain why we were holding a hunger strike, and express our goals.


20.   About eighty women signed the petition. We planned to begin refusing meals during Holy
      Week.


21.   On Monday morning, we planned to deliver the petition to Johana De Leon, who works
      with an advocacy organization called RAICES, which helps the women at Karnes with our
      asylum applications and finding attorneys for our asylum cases.


22.   I stopped eating Monday morning of Holy Week. An ICE officer told me that it was a sin
      to refuse food because it is bad for your health. The ICE officers seemed really bothered
      by the fact that we refused meals.


23.   After the mothers started refusing meals, the ICE officers called all of the hunger strikers
      to room 705. The room was packed, and there must have been nearly eighty women there.
      There were about ten ICE and GEO people in the room, include a white woman from ICE,
      Officer Pacheco from ICE, Officer Torres from ICE, and the doctor from GEO. Only the
      ICE officers spoke.


24.   We told the ICE officers that we were striking for the children’s sake. We told the officers
      that they should release our children and that it was unjust to keep children locked in a
      detention center.


25.   The ICE officers said that we did not love our children because we weren’t feeding them.
      They said we were not taking care of them properly. We were very clear with the officers:
      we told them that we were feeding our children in our rooms with food from the
      commissary. The ICE officers still threatened to take our children away. A short, small


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      man from ICE, said that our children would be taken away if we continued with the hunger
      strike. They all said they were only following the government’s rules.


26.   The threats to take my son from me made me cry. I felt the holy spirit enter me and move
      me to explain the purpose of our strike. I told the officers they don’t have compassion for
      the children or love for us as human beings. The ICE officers tried to make me leave the
      meeting to go see the GEO psychologist, Dr. Diaz. I refused. I told them that I know what
      I am saying and doing, and it’s not crazy. I was asking them to have compassion for my
      son.


27.   After this meeting, lots of women told me that they dropped out of the hunger strike
      because they were worried about losing their children. They believed that ICE would label
      them as crazy and send their children to another detention facility. Many women at Karnes
      made their way to the United States with no other family, no money, and no education. It
      would be completely devastating to have their children taken from them and put in another
      detention center, or, worse, sent back to the life-threatening violence they were trying to
      escape. I cannot lose my son. He is all I have.


28.   Some women told ICE that it would be alright to send their children to other family
      members in the United States. They are willing to do anything to get our children out of
      the detention center. ICE realized that some mothers would be willing to let that happen,
      and told us no, they would not place our children with family members. ICE said the
      children would be taken from us and put in a different detention center. They were
      threatening our children to try to deter us from striking.


29.   Even after we were released from meeting in room 705, ICE and GEO officials kept trying
      to intimidate me and the other strikers into silence. They don’t want us to draw attention
      to the injustice of keeping us mothers and children locked up at Karnes. Their tactics
      worked; by Good Friday, there were only twenty-five strikers left out of the original
      number, which was close to eighty.




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30.   ICE officials and GEO employees punished Kenia Yakeline Galeano and Delmy Pineda
      Cruz for participating in the hunger strike. Kenia and Delmy were taken from their dorm
      rooms into isolation rooms in the medical area. We knew ICE was taking them into the
      locked isolation rooms because GEO guards came to take all of their things out of their
      dorm rooms. When the other strikers saw that Kenia and Delmy were locked up, more
      than thirty of them dropped out of the strike. We were all terrified that this is what they
      would do to us, too. We were also very worried about Kenia and Delmy and their children.
      The isolation rooms are very harsh, and Kenia’s son is only two years old. Kenia and
      Delmy were locked away overnight. We didn’t see them until the next morning.


31.   At first, I considered stopping my strike, because I was worried that they would put me in
      an isolation room. I have seen them use the isolation rooms for punishment before: if you
      are speaking out or saying something they don’t like, ICE and GEO officials will take you
      to an isolation room. They don’t like questions. I have considered my participation in the
      strike, and now, I am not afraid, because I know that I have strength through God. But I
      still believe that they may lock me up.


32.   The ICE officials and GEO guards took jobs away from all the mothers who are on strike.
      About thirty women at Karnes have job assignments, such as cleaning windows, cleaning
      bathrooms, cleaning the patio, cleaning other places inside Karnes, cleaning the kitchen,
      and distributing food in the cafeteria. For these jobs, we earn three dollars per day. Even
      though it is very little money, we take the jobs because we need the money to buy food for
      our children at the commissary. I don’t have a job, and I haven’t had one since I came to
      Karnes, because the GEO medical staff won’t give me clearance to work. This is because
      of some pain issues I have had since before I came to the United States.


33.   A day or two after the big meeting in room 705, the woman who organizes the women with
      job assignments if they were participating in the hunger strike. The strikers who had a job
      told me that she made them follow her to room 613, where she asked why the strikers won’t
      eat and warned that if they didn’t eat that day, they’d never work again. She told them if
      you are on hunger strike, you cannot work. The GEO guards reminded them that they know
      we need our jobs. They’re right: there are women here whose families cannot send them


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      money, and the little money they earn doesn’t go far because items in the commissary are
      really expensive. Many women dropped out of the strike because of this. Women who
      stayed in the strike lost their jobs.


34.   Buying food from the commissary is important for the children. The food GEO gives us
      is cooked so poorly that our children refuse to eat it. ICE and GEO officials didn’t believe
      us, so they called some of the youngest kids to room 705 and put the food in front of them.
      The kids just played with it with their hands—they wouldn’t eat. Buying things from the
      commissary is the only way we can make sure our kids eat enough. Taking away the
      mothers’ jobs is like forcing them to choose between speaking out and caring for their
      children.


35.   Late in the week during Holy Week, the GEO guards took me to room 613 to ask questions
      about the last time I had met with a friend of Johana De Leon from RAICES. They gave
      me a pen and told me to write down what I talked about with the woman. I refused because
      my lawyer told me not to write anything down on paper or say anything, but they persisted.


36.   The GEO guards asked why I wouldn’t write down what we had talked about and they
      commented that it must have been something very interesting.            They were getting
      instructions from someone else over the phone. I told them that I wanted to speak to the
      person giving instructions face-to-face before I answered any questions. They eventually
      let me leave, but this was a very intimidating experience. GEO must have gone through
      their records of who had visited me, because the visit they were asking about had happened
      days ago. I feel like they are trying to find a way to put me in the medical isolation room.


37.   The GEO guards watch me closely now. If we get into a big group of people, they come
      over and pass by us to overhear what we’re talking about. I feel like my privacy is
      constantly invaded here. ICE and GEO want to make sure we don’t speak out about the
      injustice of family detention.


38.   One day, the GEO guards also videotaped us and our children using handheld cameras,
      even though there are security cameras everywhere. They told me it was to show the



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      outside world that there was no hunger strike. They said that they did not believe that we
      were on hunger strike, and they wanted to video us eating. The filming really bothered me
      because it showed a basic lack of respect. It felt very invasive, and it made me and other
      hunger strikers worried about what we could say or do. The guards stood where the women
      were and kept pointing the camera at us and our children. They also videotaped people
      buying things in the commissary and children using the microwave.


39.   When this filming happened, we decided, if GEO was going to make us feel like prisoners
      and watch our every move, we would protest, and they could film our protest. Some of the
      women took sheets of printer paper and wrote “L-I-B-E-R-T-A-D” (to spell freedom in
      Spanish) and put one letter on each piece of paper. Then they held the papers up in order,
      and we all chanted “libertad!” We were in the courtyard at this time. The GEO guards then
      ordered us to go to our rooms. I think they were angry that we ruined their video that was
      supposed to show that there was no protest going on.


40.   While we were chanting, it was about 6:45 in the evening. The guards ordered us back to
      our dorm rooms in the middle of our chant. We are supposed to be allowed outside until
      7:00 p.m. The sick children are allowed to come outside and play from 7:00–8:00, and
      then we are allowed back outside from 8:00–10:00 p.m.


41.   We refused to go inside at 6:45 because we didn’t want the GEO guards to be able to send
      us inside just for protesting. After about five minutes, Kenia said that we should go inside
      to allow the sick children to play. We went inside after five minutes.


42.   When the time came for everyone to go back outside if they wanted to, at 8:00 p.m., the
      GEO guards wouldn’t let anyone out of their rooms. They said they were keeping us inside
      for our security, but I don’t believe that. Everyone at Karnes was on lockdown because we
      had protested. I think they were trying to send a message that we should stop speaking out
      and standing up for ourselves.




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43.   I heard that some of the women who carried the L-I-B-E-R-T-A-D sign got written up by
      GEO, and that they said something about talking to a helicopter. I don’t remember seeing
      a helicopter when we were chanting in the courtyard. If there was one, I didn’t notice it.


44.   One of the GEO employees called me to an office to ask me questions about why we
      chanted. I told them we were angry about being filmed.


45.   Some things have changed since the strike began. GEO has changed the kitchen and the
      food. They started asking us what we would like to eat in the kitchen to see if we would
      eat, but I don’t think they made any different food. Before the hunger strike, they used to
      tell us that this is not a restaurant, and they could not make any changes to the menu. I also
      heard that they have a camera in the dining room now to see who is eating, but I haven’t
      seen it.


      Ongoing Intimidation from ICE and GEO


46.   The hunger strike is going on again. We broke our strike on Holy Saturday (the day before
      Easter) to give ICE ten days to respond to our demands. During those ten days, I kept
      asking ICE officials to set a bond for me. They said what they always say: that they are
      only following the law, and I have to wait for the immigration judge to decide my case.
      But I know they have the power to let my son and me go.


47.   ICE did not respond to our petition, so we started hunger striking again on Tuesday, April
      14, 2015. I am continuing the hunger strike to protest the fact that they continue to hold us
      in this detention center for no reason whatsoever.


48.   During the hunger strike, the GEO nurses call us to the medical area to weigh us and take
      our blood pressure every day. They tell us that we have to start eating, or else we will not
      be able to take care of our children. They say our children will be taken away if we keep
      striking because we will get sick, and we cannot care for our children if we are sick, and
      they will be taken away.




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49.   There are only about fifteen or twenty strikers left out of the nearly eighty who signed the
      petition before Holy Week. The women who stopped striking have told me they are scared
      about what ICE and GEO will do to them. They are especially scared of losing their
      children.


50.   This morning, the ICE officials and GEO employees had another meeting in Room 705,
      and they called in all of the hunger strikers. There were about twelve of us, and there were
      ICE officers Hester, Pacheco and Torres, the head of the clinic, and two GEO employees.


51.   They asked why we are not eating. We told them that we want to know why we are being
      detained, and we want to be released, and that our children should not suffer like this in
      jail. They said they don’t know anything about our asylum cases, and the immigration
      judge has to decide when we can be free.


52.   We told them again that we want our freedom, and we know that ICE can free us. They
      said the judge has to act on our cases, and if we are frustrated, then our lawyers are to
      blame, and not ICE or GEO.


53.   They also told us we are going to get sick from not eating. They said if we get sick and
      cannot take care of our children, then under the law the children will be taken away. They
      gave us each a paper and told us to write why we are hunger striking on the paper. Then
      they took the papers back.


54.   The meeting lasted a long time. ICE and GEO want us to stop protesting and calling
      attention to our plight, but we are mothers and we cannot allow our children to be locked
      up like this for so long. We have to protect our children, and we did nothing wrong. We
      are just speaking out because we want our freedom.


55.   I am scared of the further actions that ICE and GEO might take to prevent me from hunger
      striking. Nevertheless, I will keep striking because ICE could release me and my son if it
      wanted. We are only seeking asylum and we have not committed any crimes. Our children
      should not be in jail because they had to run for their lives.



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